          Case 1:15-cv-02739-LAP Document 484 Filed 08/07/23 Page 1 of 3




          TELEPHONE: 1-212-558-4000                                125 Broad Street
           FACSIMILE: 1-212-558-3588
             WWW.SULLCROM.COM
                                                             New York, New York 10004-2498
                                                                                ______________________


                                                                 LOS ANGELES • PALO ALTO • WASHINGTON, D.C.

                                                                  BRUSSELS • FRANKFURT • LONDON • PARIS

                                                                        BEIJING • HONG KONG • TOKYO

                                                                            MELBOURNE • SYDNEY




                                                             August 7, 2023

Via ECF

The Honorable Loretta A. Preska,
    United States District Court for the Southern District of New York,
        500 Pearl Street,
            New York, NY 10007.

                Re:       Petersen Energía Inversora S.A.U. v. Argentine Republic and YPF S.A.,
                          No. 15 Civ. 2739 (LAP) (“Petersen”); Eton Park Capital Mgmt. et al. v.
                          Argentine Republic and YPF S.A., No. 16 Civ. 8569 (LAP) (“Eton Park”)

Dear Judge Preska:

                On behalf of the Argentine Republic, I respond to Plaintiffs’ August 4, 2023
submission of new exhibits as attachments to their post-trial brief (ECF. No. 480) and to identify
two errors of law in new arguments in Plaintiffs’ brief.

                1.     Exhibits A and B to Plaintiffs’ post-trial brief purport to be transcriptions
of (i) a July 28, 2023 radio interview with the current CEO of YPF S.A., Pablo González (ECF
No. 481-1, Rhodes Decl., Ex. A), and (ii) excerpts of a July 30, 2023 video podcast interview with
the governor of the Argentine province of Buenos Aires Axel Kicillof (ECF No. 481-2, Rhodes
Decl., Ex. B). These exhibits should be stricken. Both are irrelevant hearsay, with no evidentiary
value. Plaintiffs wrongly claim (Pls.’ Br. at 3, 10) that these are statements of the Republic’s
“officials.” In fact, Mr. González and Mr. Kicillof are not part of, and do not speak for, the
Argentine government. Moreover, the statements of Messrs. González and Kicillof do not support
Plaintiffs’ position. Rather, both express their personal opinion that it is “unfair” that Burford,
which “did not suffer any damages” and “bought a bankruptcy case from Spain,” should receive
the proceeds of a multi-billion damages award arising out of a “sovereign act” of the Argentine
government. (ECF No. 481-1 at 3-5; see ECF No. 481-2 at 1-2.) Both also observed that the
expropriation of Repsol’s YPF shares benefitted Argentina by allowing YPF to invest in the
development of its hydrocarbon resources (ECF No. 481-1 at 3; ECF No. 481-2 at 2), rather than
permitting Petersen to continue spending YPF’s capital on exorbitant dividends to repay Petersen’s
loans from Repsol for its highly leveraged acquisition of YPF shares.
           Case 1:15-cv-02739-LAP Document 484 Filed 08/07/23 Page 2 of 3



    The Honorable Loretta A. Preska                                                           -2-

                  2.     Exhibits D through G to Plaintiffs’ brief (ECF Nos. 481-4, -5, -6 & -7) are
various Argentine statutes that Plaintiffs did not submit to the Court with their lengthy July 17,
2023 legal compendium (ECF No. 470) or the supplemental legal compendium the Court permitted
them to file on July 25, 2023 (ECF No. 478). Plaintiffs wrongly claim that these exhibits, which
they do not say are comprehensive, illustrate that the Argentine Federal Court of Appeals in Civil
and Commercial Matters hears “only cases involving certain defendants or subject matters
specified by statute, mostly cases involving the Argentine government or federal agencies.” (Pls.’
Br. at 11.) But Plaintiffs did not present any competent expert evidence at trial on prejudgment
interest, much less anything that would permit the Court to evaluate the significance of these
statutes. Plaintiffs did not even cross-examine Prof. Manóvil about the jurisdiction of, or interest
rate applied by, this Argentine federal commercial court when they had the opportunity to do so at
trial, (see Tr. 287:20-25 (Plaintiffs’ counsel referenced the “federal court” about which Prof.
Manóvil had testified, but did not ask a single question about it)), even though he specifically
opined on the relevance of the Federal Court of Appeals in Civil and Commercial Matters in his
rebuttal expert report (see ECF No. 368-2 ¶ 166). The Court should reject Plaintiffs’ belated post-
trial effort to contradict Prof. Manóvil’s testimony by lobbing yet more context-free Argentine law
into the record.

                3.     In their post-trial brief, Plaintiffs claim for the first time that Article 622 of
the Argentine Civil Code “makes clear that a debtor ‘owes the interest . . . from the time of [the
obligation’s] maturity.’” (Pls.’ Post-Trial Br. at 12 (quoting Art. 622).) This is another point that
Plaintiffs could have put to Prof. Manóvil, or Plaintiffs’ two private law experts who were sitting
in the courtroom, but chose not to—and for good reason. Plaintiffs quote the portion of Article
622 that governs “interest agreed upon in the obligation,” not prejudgment interest determined by
a court on an “obligation” with no agreed rate and no “maturity,” which is the issue at stake here.
(DLA-29 (Arg. Civil Code) Art. 622.) And the case law cited by both parties makes clear that
prejudgment interest under Argentine law runs from the date a claimant serves notice of the
claimed default.1

                4.      Plaintiffs incorrectly cite a 34-year old case, Leddy v. Standard Drywall,
Inc., 875 F.2d 383, 386 (2d Cir. 1989), to claim that the Republic should not be heard on the issue
of Prof. Fischel’s omission of available data from his damages calculations. (Pls.’ Br. at 13.) But
this Court denied Plaintiffs’ summary judgment motion as to damages; it did not “remove []
claims” as to that issue from the case. Moreover, since Leddy, Federal Rule of Civil Procedure 56
has been amended to make clear that a party need not address on summary judgment every “fact[]
stated by the movant” to preserve an issue for trial. See Fed. R. Civ. P. 56 Advisory Committee
Note to 2010 Amendments to Subdivision (g).


1
  E.g., PLA-10 at 16 (“In fact, no evidence has been provided in the case to show that there was a
notice to pay that constituted a default under the terms of 509 [of the Civil Code] prior to the
commencement of this action, therefore it must be concluded that up to that time the defendant
was not required to make any payment to the extent recognized in this case. Consequently, the
interest owed on the differences recognized in this lawsuit must be calculated from the time the
claim was served.”) (emphasis added).
           Case 1:15-cv-02739-LAP Document 484 Filed 08/07/23 Page 3 of 3



    The Honorable Loretta A. Preska                                                         -3-

                5.      Finally, Plaintiffs incorrectly assert that “Argentina has not identified a
single case awarding no[]” prejudgment interest. (Pls.’ Post-Trial Br. at 9.) The Republic
identified three Argentine commercial court cases in which courts have exercised their discretion
to award no prejudgment interest,2 and Prof. Manóvil confirmed that, under Argentine law, a
“court has full discretion to establish the interest rate,” including considerations of “the equities”
and “fair[ness].” (Tr. 268:8-22.) Plaintiffs elected not to cross-examine him on this subject. For
the reasons the Republic stated in its post-trial brief, Plaintiffs should be awarded no prejudgment
interest or, at most, interest at the commercial court rate of approximately 3% running from the
dates of service of Plaintiffs’ complaints. (See Argentina’s Post-Trial Br. at 12-15.).

                                                              Respectfully,


                                                              /s/ Robert J. Giuffra, Jr.
                                                              Robert J. Giuffra, Jr.

cc:      Counsel of Record (via ECF)




2
 See ECF No. 477 at 7; ECF No. 469-22 at 13 (citing DLA-22 (Bovero Nilda María v. Poder
Ejecutivo Nacional y otro) at 6-7; see also Ex. A (Montenegro Alejandro Fabián y otros v. Siembra
Seguros de Retiro S.A., Fed. Court of Appeals in Civil & Comm. Matters (March 11, 2015)) at 21;
Ex. B (Avila Benita Antonia v. Orígenes Seguros de Retiro S.A., Fed. Court of Appeals in Civil &
Comm. Matters (December 30, 2016)) at 14-15).
